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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                    CRIMINAL ACTION
                                            )                    No. 09-20005-13-KHV
v.                                          )
                                            )                    CIVIL ACTION
GUADALUPE RUIZ,                             )                    No. 12-2523-KHV
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       On December 1, 2009, defendant entered a plea of guilty to conspiracy to distribute and

possess with intent to distribute more than 500 grams of a mixture and substance containing

methamphetamine in violation of 21 U.S.C. § 846. On February 23, 2010, the Court sentenced

defendant to 121 months in prison. Defendant did not appeal. This matter is before the Court on

defendant’s Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence By A

Person In Federal Custody (Doc. #1006) filed August 10, 2012. For reasons stated below, the Court

overrules defendant’s motion.

                                            Analysis

       The government contends that defendant’s motion is procedurally barred because it is

untimely. Section 2255 provides a one-year period of limitation which ordinarily runs from the date

on which the judgment of conviction becomes final.1 If defendant does not directly appeal her


       1
               The one-year period of limitation runs from the latest of –

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by governmental
       action in violation of the Constitution or laws of the United States is removed, if the
                                                                                      (continued...)
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conviction or sentence, the conviction becomes final upon the expiration of the time in which to take

a direct criminal appeal. United States v. Prows, 448 F.3d 1223, 1227-28 (10th Cir. 2006). Here,

the Clerk entered judgment on February 24, 2010. Under Rule 4(b) of the Federal Rules of Appellate

Procedure, defendant’s judgment became final 14 days later on March 10, 2010. Therefore

defendant had until March 10, 2011 to file a motion to vacate under Section 2255.

        Defendant filed her Section 2255 motion on August 10, 2012, some 17 months after the

statutory deadline. Liberally construed, defendant’s motion, as supplemented by her reply, alleges

that counsel (J. Steven Schweiker) was ineffective because (1) he did not keep her informed of

communications with government counsel, (2) he let defendant plead guilty even though she did not

understand the court proceedings and (3) he did not file an appeal despite her request to do so.

        Defendant asserts that her motion is timely under Section 2255(f)(3) because it is based on

Missouri v. Frye, 132 S. Ct. 1399 (2012), and Lafler v. Cooper, 132 S. Ct. 1376 (2012), which

initially recognized her right to relief less than one year before she filed her motion. Frye and Lafler

did not announce any new rules of constitutional law, but merely recognized the well-established

precedent of Strickland v. Washington, 466 U.S. 668, 687, 694 (1984). Buenostro v. United States,

697 F.3d 1137 (9th Cir. 2012); In re King, 697 F.3d 1189, 1189 (5th Cir. 2012); Hare v. United


        1
        (...continued)
        movant was prevented from making a motion by such governmental action;

        (3) the date on which the right asserted was initially recognized by the Supreme
        Court, if that right has been newly recognized by the Supreme Court and made
        retroactively applicable to cases on collateral review; or

        (4) the date on which the facts supporting the claim or claims presented could have
        been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f).

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States, 688 F.3d 878, 879 (7th Cir. 2012); In re Perez, 682 F.3d 930, 933-34 (11th Cir. 2012) (Frye

and Lafler did not announce new rules of constitutional law because they merely applied Sixth

Amendment right to counsel to specific factual context). Accordingly, Frye and Lafler did not toll

defendant’s deadline to file a Section 2255 motion.

       Under certain circumstances a claim of actual innocence may be a ground for equitable

tolling of the limitations period. See Gibson v. Klinger, 232 F.3d 799, 808 (10th Cir. 2000)

(equitable tolling available only in rare and exceptional circumstances such as when prisoner

“actually innocent”). To establish actual innocence, a petitioner must demonstrate that in light of

new evidence, it is more likely than not that no reasonable juror would have convicted her. Schlup

v. Delo, 513 U.S. 298, 327 (1995); see United States v. Starr, 275 Fed. Appx. 788, 789 (10th Cir.

2008); see also Bousley v. United States, 523 U.S. 614, 623 (1998) (applying Schlup standard to

Section 2255 motion). To be credible, a claim of actual innocence ordinarily must be supported with

reliable new evidence such as exculpatory scientific evidence, trustworthy eyewitness accounts or

critical physical evidence. See Schlup, 513 U.S. at 324.

       Here, defendant alleges that if she had received different advice, she may have opted to go

to trial. See Movant/Defendant’s Response To Government’s Response To Title 28 U.S.C. § 2255

[Motion] (Doc. #1016) at 2. Defendant does not allege that she is actually innocent. The arguments

in her reply brief repudiate her sworn statements in the plea petition and at the change of plea

colloquy. But absent a believable reason justifying departure from the apparent truth of an accused’s

statements at a Rule 11 proceeding at which her plea is accepted, such statements are conclusively

established. United States v. Glass, 66 Fed. Appx. 808, 810 (10th Cir. June 3, 2003); United States

v. Jones, 124 F.3d 218 (Table), 1997 WL 580493, at *1 (10th Cir. 1997); United States v. Bambulas,


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571 F.2d 525, 526 (10th Cir. 1978); see also Blackledge v. Allison, 431 U.S. 63, 74 (1977)

(defendant’s declaration at Rule 11 hearing carries strong presumption of verity); United States v.

Peterson, 414 F.3d 825, 827 (7th Cir. 2005) (judges need not let litigants contradict themselves so

readily; motion that can succeed only if defendant committed perjury at plea proceedings may be

rejected out of hand unless defendant has compelling explanation for contradiction).

       Because defendant has not alleged a sufficient basis to toll the deadline to file a Section 2255

motion, the Court overrules her motion as untimely.

                                             Conclusion

       The files and records in this case conclusively show that defendant is not entitled to relief.

Moreover, defendant does not allege specific and particularized facts which, if true, would entitle

her to relief. Accordingly, no evidentiary hearing is required. See 28 U.S.C. § 2255; United States

v. Kilpatrick, 124 F.3d 218 (Table), 1997 WL 537866, at *3 (10th Cir. 1997) (conclusory allegations

do not warrant hearing); United States v. Marr, 856 F.2d 1471, 1472 (10th Cir. 1988) (no hearing

required where court may resolve factual matters raised by Section 2255 petition on record); United

States v. Barboa, 777 F.2d 1420, 1422-23 (10th Cir. 1985) (hearing not required unless “petitioner’s

allegations, if proved, would entitle him to relief” and allegations are not contravened by record).

                                    Certificate Of Appealability

       Under Rule 11 of the Rules Governing Section 2255 Proceedings, the Court must issue or

deny a certificate of appealability when it enters a final order adverse to the applicant. A certificate

of appealability may issue only if the applicant has made a substantial showing of the denial of a




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constitutional right. 28 U.S.C. § 2253(c)(2).2 To satisfy this standard, the movant must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional claims

debatable or wrong.” Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v.

Dretke, 542 U.S. 274, 282 (2004)). For reasons stated above, the Court finds that defendant has not

satisfied this standard. The Court therefore denies a certificate of appealability as to its ruling on

defendant’s Section 2255 motion.

       IT IS THEREFORE ORDERED that defendant’s Motion Under 28 U.S.C. § 2255 To

Vacate, Set Aside, Or Correct Sentence By A Person In Federal Custody (Doc. #1006) filed

August 10, 2012 be and hereby is OVERRULED. A certificate of appealability as to the ruling on

defendant’s Section 2255 motion is DENIED.

       Dated this 18th day of January, 2013 at Kansas City, Kansas.

                                                s/ Kathryn H. Vratil
                                                KATHRYN H. VRATIL
                                                United States District Judge




       2
                 The denial of a Section 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C.
§ 2253(c)(1).

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